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                          IN THE UNITED STATES DISTRICT COURT
                               DISTRICT OF MASSACHUSETTS

    ALIANZA AMERICAS, and YANET DOE, PABLO
    DOE, and JESUS DOE on behalf of themselves and
    all others similarly situated,


                                   Plaintiffs,
                                                                      Civil Action No.
                           v.

    RONALD DESANTIS, Governor of Florida in his
    official and personal Capacities; JARED W.
    PERDUE, Secretary of the Florida Department of
    Transportation in his official and personal Capacities;
    STATE OF FLORIDA; THE FLORIDA
    DEPARTMENT OF TRANSPORTATION; DOES
    #1-5;

                                     Defendants.


                      CLASS ACTION COMPLAINT AND JURY DEMAND

          Plaintiff Alianza Americas, together with Plaintiff Yanet Doe, Pablo Doe and Jesus Doe

          (collectively the “individual Plaintiffs”) 1 individually and on behalf of all others similarly

          situated, by and through undersigned counsel, allege on personal knowledge, information,

          and belief as follows:

                                   PRELIMINARY STATEMENT

      1. Plaintiffs are recent immigrants who fled from Venezuela—a place subject to a Level 4

          “Do Not Travel” advisory by the United States Department of Health due to rampant

          crime, civil unrest, poor health infrastructure, kidnapping, terrorism and wrongful



1Concurrently with the filing of this Complaint, the individual Plaintiffs have filed a motion to
be allowed to proceed under pseudonyms.
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   detentions. After crossing the United States border, the Plaintiffs immediately

   surrendered themselves to federal immigration officials, and each has—and at all times

   pertinent to the allegations in this Complaint has had—active federal proceedings to

   adjudicate their immigration status. Unless and until determined otherwise after the due

   process to which they are entitled, Plaintiffs are authorized by federal immigration

   officials to remain in the United States.

2. Plaintiffs have led lives inflicted by violence, instability, insecurity, and abuse of trust by

   corrupt government officials that most Americans could hardly conceive of. They fled to

   the United States in a desperate attempt to protect themselves and their families from

   gang, police, and state-sponsored violence and the oppression of political dissent. To put

   it simply, Plaintiffs, and the class of similarly situated individuals they seek to represent,

   are vulnerable in a way and to an extent that almost defies verbal description. They are as

   deserving of dignity and empathy as anyone among us.

3. In or around September 2022, Defendants and their unidentified accomplices designed

   and executed a premeditated, fraudulent, and illegal scheme centered on exploiting this

   vulnerability for the sole purpose of advancing their own personal, financial and political

   interests. This scheme involved the unidentified Doe Defendants, acting in concert with

   the named Defendants, identifying and targeting class members by trolling streets outside

   of a migrant shelter in Texas and other similar locales, pretending to be good Samaritans

   offering humanitarian assistance.

4. To gain the Plaintiffs’ trust, and to induce unwitting cooperation with Defendants’

   scheme, the Doe Defendants provided items such as $10 McDonalds gift certificates to

   class members suffering from chronic food insecurity. After luring Plaintiffs by
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   exploiting their most basic needs, the Doe Defendants then made false promises and false

   representations that if Plaintiffs and class members were willing to board airplanes to

   other states, they would receive employment, housing, educational opportunities, and

   other like assistance upon their arrival. Next, the Defendants put class members up for

   free in hotels, sequestered away from the migrant center, and from the possibility of

   actual good Samaritans finding out how the class members were being abused.

5. On information and belief, the Defendants procured and paid $615,000 for private

   chartered planes ($12,300 per passenger), transported class members to the aircrafts, and

   told them they were flying to Boston or Washington, D.C., which was completely false.

   Instead, the chartered airplanes dropped Plaintiffs off on Martha’s Vineyard in the

   evening, with no food, water or shelter. No one on Martha’s Vineyard—or, on

   information and belief—anywhere in Massachusetts—knew they were coming. The Doe

   Defendants disappeared and did not answer alarmed calls from the class members to get

   information about what had gone wrong after they landed. But nothing had “gone

   wrong.” Instead, the scheme worked exactly as the Defendants intended.

6. These immigrants, who are pursuing the proper channels for lawful immigration status in

   the United States, experienced cruelty akin to what they fled in their home country.

   Defendants manipulated them, stripped them of their dignity, deprived them of their

   liberty, bodily autonomy, due process, and equal protection under law, and impermissibly

   interfered with the Federal Government’s exclusive control over immigration in

   furtherance of an unlawful goal and a personal political agenda.

7. The next day, Governor DeSantis claimed credit for the ruse, and the class members and

   their plight became front page news across the country. As set forth more fully below, the
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   Defendants’ inhumane and morally repugnant conduct (i) violated protections afforded to

   the Plaintiffs by the United States Constitution, (ii) violated federal statutes including 42

   U.S.C. § 1983 and 42 U.S.C. 1985(3), and (iii) was tortious, entitling Plaintiffs and other

   class members to monetary, injunctive, and other relief as set forth herein.

                            JURISDICTION AND VENUE

8. This Court has jurisdiction over the subject matter of this action under 28 U.S.C. §§ 1331

   and 1343. This case poses federal questions that arise under the U.S. Constitution and

   laws of the United States. This Court also has supplemental jurisdiction under 28 U.S.C.

   § 1367 over the related claims arising under state law.

9. This Court also has jurisdiction over the subject of this action under 28 U.S.C. § 1332.

10. This Court has authority to grant declaratory relief under 28 U.S.C. §§ 2201 and 2202.

11. This Court has personal jurisdiction over all Defendants pursuant to G.L. c. 223A, § 3,

   because their activities, as outlined herein, occurred in large part in the Commonwealth

   of Massachusetts, and caused tortious injury in the Commonwealth. Further, exercising

   jurisdiction over these Defendants is consistent with the United States Constitution and

   federal laws under Federal Rule of Civil Procedure 4(k)(2)(B).

12. Defendants purposefully availed themselves of the benefits and protections of the laws of

   the Commonwealth of Massachusetts by knowingly and intentionally arranging to

   transport migrants to the Commonwealth. In light of Defendants’ intentional availment of

   the benefits of the Commonwealth, Defendants voluntarily subjected themselves to the

   jurisdiction of the courts of the Commonwealth with respect to claims arising out of their

   conduct.
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13. On information and belief, Defendants DeSantis and Perdue, directly and through agents,

   regularly do, solicit, or transact business in the Commonwealth and engage in a persistent

   course of conduct in the Commonwealth. On information and belief, Defendant the State

   of Florida, directly and through agents, contracts to supply services or goods in this

   Commonwealth and derives substantial revenue from goods used or consumed or

   services rendered in the Commonwealth.

14. Venue is proper in this judicial district under 28 U.S.C. § 1391(b)(2), because a

   substantial part of the events or omissions giving rise to this civil action occurred in this

   judicial district. Venue is also proper under 28 U.S.C. § 1391(b)(3).

                                        PARTIES

15. Plaintiff Alianza Americas is the only transnational organization rooted in Latino

   immigrant communities in the United States focused on improving the quality of life of

   all people in the U.S.-Mexico-Central America migration corridor. Alianza Americas is

   comprised of a network of 53 member organizations from across the country whose goal

   is to promote policies that are humane, just, and equitable. Alianza Americas provides a

   breadth of programming and resources to immigrant communities, immigrant-serving

   communities, and the general public related to issues of immigration, human rights, and

   democratic participation. Alianza Americas is a not-for-profit corporation organized

   under the laws of California with a principal place of business in Chicago, Illinois.

16. Plaintiff Yanet Doe is from Venezuela. She, her husband, their eleven-year-old son, and

   additional family members were induced by Defendants to board a plane in Texas that

   ultimately arrived in Martha’s Vineyard on September 14, 2022.
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17. Plaintiff Pablo Doe is from Venezuela. He and his two brothers were induced by

   Defendants to board a plane in Texas that ultimately arrived in Martha’s Vineyard on

   September 14, 2022.

18. Plaintiff Jesus Doe is from Venezuela. He was induced by Defendants to board a plane in

   Texas that ultimately arrived in Martha’s Vineyard on September 14, 2022.

19. Defendant Ronald DeSantis is the Governor of the State of Florida. Defendant DeSantis

   has taken credit for executing the relocation scheme out of $12 million in funding set

   aside by the Florida legislature. Fl. House Bill 5001, Sec. 185 (2022). He has pledged to

   use all $12 million of that funding to continue the challenged conduct. Defendant

   DeSantis is sued in both his official and individual capacities.

20. Defendant Jared W. Perdue is the Secretary of the Florida Department of Transportation.

   The $12 million in funding that Defendant DeSantis is using to execute his relocation

   scheme is appropriated to the Florida Department of Transportation, which Defendant

   Perdue heads and under whom direct administration of the Department is placed.

   Defendant Perdue is sued in both his official and individual capacities.

21. Defendant State of Florida is one of the United States.

22. The Florida Department of Transportation is an agency of the State of Florida.

23. Defendant Doe #1 is an as-yet unnamed individual who targeted many of the putative

   class members in San Antonio, Texas, to induce them onto the flights to Martha’s

   Vineyard. Defendant Doe #1 told Plaintiffs her name was “Perla.” The Plaintiffs will

   amend the complaint when they ascertain her real name.

24. Defendant Doe #2 is an as-yet unnamed individual who targeted many of the putative

   class members in San Antonio, Texas, to induce them onto the flights to Martha’s
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      Vineyard. Defendant Doe #2 told Plaintiffs his name was “Emanuel.” The Plaintiffs will

      amend the complaint when they ascertain his real name.

  25. Doe Defendants #3, #4, and #5 are as-yet unnamed individuals and organizations who

      either participated in the inducement of Plaintiffs to travel, coordinated and/or supported

      this scheme. The Plaintiffs will amend the complaint when they ascertain the Doe

      Defendants’ real names.

                                  FACTUAL ALLEGATIONS

The Defendants’ Scheme to Defraud Vulnerable Immigrants to Advance a Political Motive

  26. On September 14, 2022, two privately chartered planes carrying approximately fifty

      people—all recent immigrants to the United States—landed on the island of Martha’s

      Vineyard, Massachusetts unannounced except, at most, for the flights’ notification to the

      local air traffic controller.

  27. The individual Plaintiffs were among the immigrants on those planes. All of them were

      subject to the same pattern and practice of inducement and deceit in the days leading up

      to their arrival in Martha’s Vineyard, orchestrated by Defendant DeSantis and

      implemented by the other Defendants.

  28. Near a migrant resource center in San Antonio, Texas, and in similar locales, the Doe

      Defendants and other accomplices approached the individual Plaintiffs and gained their

      trust by offering them items they needed: McDonalds gift cards and other seemingly de

      minimis items.

  29. Under the auspices of acting out of the goodness of their hearts, the Doe Defendants

      made false promises and false representations that if the individual Plaintiffs and other

      class members were willing to board airplanes to other states, they would receive
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   employment, housing, educational opportunities, and other like assistance at their arrival.

   The Doe Defendants also told the individual Plaintiffs and other class members that they

   would receive assistance with their immigration proceedings at their destination.

30. In fact, Defendants had made no arrangements for employment, housing, educational

   opportunities, or other assistance for the individual Plaintiffs or other class members at

   their destination. Defendants had not even notified any governmental or non-profit entity

   that could provide such services that the individual Plaintiffs and their similarly-situated

   class members would be arriving.

31. Lacking work and shelter, and in desperate circumstances, individual Plaintiffs and other

   class members accepted the offer relying on these promises. They agreed to board a plane

   at the invitation of total strangers because they trusted that the Defendants would provide

   what they had promised.

32. For many class members, the Doe Defendants collected copies of the class members’

   immigration paperwork so they could confirm that their immigration status met the

   ultimate ends of their scheme. If the class members’ paperwork fit the bill, the Doe

   Defendants engaged in further acts to lure them into being objects of the Defendants’

   political agenda.

33. To induce the individual Plaintiffs’ and the class members’ trust in them, the Doe

   Defendants provided what they purported to be their cell phone numbers so that the

   individual Plaintiffs and the class members could call them with any questions about the

   purported plan and when they reached their destination.

34. The Doe Defendants rounded up and sequestered the individual Plaintiffs and other class

   members in hotel rooms while they gathered enough of them to fill two planes and carry
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   out their scheme. On information and belief, this took days of work by the Doe

   Defendants. On information and belief, the Doe Defendants intentionally sequestered the

   class members so that they could not discuss the arrangement and reveal Defendants’

   inhumane scheme to any true Good Samaritans, and so that the class members would be

   less likely to leave or change their minds since they were being provided free housing

   while they waited.

35. After enough immigrants had been rounded up—enough to fill two planes—the

   individual Plaintiffs and other class members were transported by the Doe Defendants to

   a private airstrip, where they boarded two planes. The planes took off from Texas. At

   some point during the flight, it was announced that the planes would land on Martha’s

   Vineyard.

36. At various points during this scheme, the Doe Defendants made similar false

   representations in furtherance of the conspiracy to individual Plaintiffs and the putative

   class in written form as well.

37. Specifically, while on the plane, right before landing in Martha’s Vineyard, Defendants

   provided the individual Plaintiffs each with a shiny, red folder that included other

   official-looking materials, including: a brochure entitled “Massachusetts Refugee

   Benefits” and instructions for how to change an address with U.S. Citizenship and

   Immigration Services (USCIS), a federal agency which oversees immigration, including

   USCIS Form AR-11, “Alien’s Change of Address Card.”

38. On information and belief, the brochure was manufactured by Defendants. The brochure

   echoed the type of false representation that had been given orally, including statements

   such as: “During the first 90 days after a refugee’s arrival in Massachusetts, resettlement
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   agencies provide basic needs support including…assistance with housing…furnishings,

   food, and other basic necessities…clothing, and transportation to job interviews and job

   training…assistance in applying for Social Security cards…registering children for

   school….” The brochure had a separate section entitled “Refugee Cash Assistance

   (RCA),” which stated: “Provides up to 8 months of cash assistance for income-eligible

   refugees without dependent children, who reside in Massachusetts.” It had other sections

   that described “targeted services for . . . employment.”

39. On information and belief, this brochure was not prepared by the Massachusetts Office

   for Refugees and Immigrants, or any other Massachusetts agency or immigration services

   organization.

40. On information and belief, Defendants manufactured the official-looking brochure—

   lifting language from the Massachusetts Refugee Resettlement Program, a governmental

   program with highly specific eligibility requirements for which no members of the

   putative class are eligible—in order to buttress their false oral representations to Plaintiffs

   in furtherance of the conspiracy described throughout this complaint.

41. Before the flight, class members were told they were heading to Boston, Massachusetts

   or Washington, D.C. But right before landing, they were informed they were in fact going

   to Martha’s Vineyard, an isolated Massachusetts island just south of Cape Cod, reachable

   only by plane or boat.

42. Once the individual Plaintiffs and class members landed, it became clear that the

   promises made to induce them on the planes were in fact bold-faced lies.

43. Defendants intentionally failed to inform anyone on Martha’s Vineyard—or, on

   information and belief, anyone in the Commonwealth of Massachusetts—that the
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   individual Plaintiffs and the similarly-situated class members would be arriving.

   Defendants also intentionally failed to arrange any of the services they had promised to

   the individual Plaintiffs and the class members.

44. Defendants completely abandoned the class members. They did not travel with the class

   members or connect them to or arrange for any services on arrival.

45. When those induced onto the planes disembarked in Martha’s Vineyard, it turned out that

   no one was expecting their arrival, and uncertainty quickly ensued. In Texas, the Doe

   Defendants had given telephone numbers to Plaintiffs and told them to call with any

   questions. But once the planes landed in Massachusetts, the Doe Defendants were

   suddenly nowhere to be found and unreachable by phone. Destitute and stranded, the

   Plaintiffs were now even more vulnerable to precarious conditions.

46. Destitute, stranded, and immensely vulnerable, the individual Plaintiffs and class

   members were faced with an uncertain situation in an unfamiliar location. They were left

   in the dark, with nothing, on a tarmac on an island.

47. The individual Plaintiffs and the class members suffered economic, emotional, and

   constitutional harms as a result of Defendants’ intentional, reckless, and negligent

   conduct. Together, Plaintiffs have suffered harms the redress of which is incalculable but

   at a minimum exceeds $75,000.

48. The next day, September 15, 2022, Defendant Florida Governor Ronald DeSantis

   assumed responsibility for the scheme and publicly stated that he had orchestrated the

   chartered flights as part of the state’s relocation program targeting immigrants. Defendant
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        DeSantis proclaimed: “We are not a sanctuary state, and we will gladly facilitate the

        transport of illegal immigrants to sanctuary jurisdictions.”2

    49. Defendant DeSantis stated that he had funded the scheme out of $12 million appropriated

        by the Florida Legislature to Defendant Department of Transportation, and that he and his

        associates will continue to undertake similar transport until those funds are exhausted.

    50. To date, none of the Defendants has provided the individual Plaintiffs or putative class

        members with any of the employment, permanent housing, or immigration assistance

        they were promised.

    The Individual Plaintiffs’ Experiences of Escaping a Humanitarian Crisis Only for the
                   Defendants to Use Them as Pawns in A Political Stunt

    51. Both the Trump and Biden Administrations have consistently recognized the crisis in

        Venezuela. The U.S. Department of State has issued a Level 4 “Do Not Travel” advisory

        for Venezuela “due to crime, civil unrest, poor health infrastructure, kidnapping, . . .

        terrorism and wrongful detentions.”3 The U.S. Department of Justice has similarly found

        that “[e]xtraordinary . . . conditions . . . prevent Venezuelan nationals from returning [to

        Venezuela] in safety includ[ing] severe economic and political crises, . . . which have an

        impact across sectors.”4 Venezuelans face “limited access to food, basic services, and

        adequate healthcare, and the deterioration of the rule of law and protection of human

        rights.”5 Amnesty International has found that, in Venezuela, “[c]rimes under




2 Ron DeSantis (@GovRonDeSantis), ᴛᴡɪᴛᴛᴇʀ (Aug. 15, 2022, 12:29 PM),
https://twitter.com/GovRonDeSantis/status/1570449660019359744.
3 https://travel.state.gov/content/travel/en/traveladvisories/traveladvisories/venezuela-travel-

advisory.html
4 Id. at 55,026.
5 Id.
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      international law and human rights violations, including politically motivated arbitrary

      detentions, torture, extrajudicial executions and excessive use of force have been

      systematic and widespread . . . ..”

Plaintiff Yanet Doe

   52. Plaintiff Yanet Doe was born in Venezuela.

   53. She, her husband, their eleven-year-old son, and additional family members fled

      Venezuela in or around July 2022. She and her family crossed the border into the United

      States near Piedras Negras, Mexico, and immediately surrendered to federal officials at

      the border.

   54. Plaintiff Yanet Doe and her family were detained by federal immigration officials for

      approximately six days. She and her family are subject to ongoing immigration

      proceedings in Texas. She must appear in Texas for an immigration check-in next month

      and a court hearing in February 2023.

   55. Upon being released by federal immigration officials, Plaintiff Yanet Doe and her family

      stayed at several churches and eventually took a bus to San Antonio. Volunteers directed

      them to a shelter there known to house recent immigrants from Central and South

      America. They stayed in that shelter for approximately 3 days.

   56. While they were still near the shelter, Plaintiff Yanet Doe and her family encountered

      Defendant Doe #1, a woman who identified herself as “Perla” who was asking people

      outside the shelter if they needed help. Defendant Doe #1 shared her phone number with

      Plaintiff, and Plaintiff called her.

   57. Defendant Doe #1 asked Plaintiff Yanet Doe for a picture of Plaintiff’s immigration

      notices. Plaintiff sent Defendant Doe #1 the immigration notices for herself, her husband,
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   and her son. The fact that Defendant Doe #1 asked Plaintiff Yanet Doe for her family’s

   immigration notices worried Plaintiff Yanet Doe, but since Defendant had been kind and

   supportive of her, and because Defendant was near the shelter known to support recent

   immigrants, Plaintiff Yanet Doe believed that Defendant was genuinely trying to assist

   her and her family.

58. Defendant Doe #1 then picked Plaintiff Yanet Doe and her family up and took them to a

   hotel where the family stayed for approximately five days. Defendant Doe #1 and/or her

   associates told Plaintiff that, if the family got on the flight she arranged, then Plaintiff

   would be provided with permanent housing, work, educational resources for her son, and

   help changing her address for immigration proceedings.

59. Defendant Doe #1 eventually arranged a shuttle to take Plaintiff Yanet Doe and her

   family to the chartered flight. Plaintiff Yanet Doe asked if she could go to New York and

   Defendant Doe #1 informed her that they would likely go to Washington, D.C. or another

   “sanctuary state.”

60. During the flight, Plaintiff Yanet Doe learned that the plane would be landing on an

   island in Massachusetts. When the plane landed, Plaintiff and her family did not have

   anywhere to go, and no one was waiting for them.

61. Plaintiff Yanet Doe is concerned that an immigration judge will order her and her entire

   family deported in absentia if they are unable to keep their scheduled appointments.

62. Since arriving in Martha’s Vineyard, Plaintiff Yanet Doe and her son have been in need

   of mental health support because of the ordeal.
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   63. Upon arrival in Martha’s Vineyard, Plaintiff Yanet Doe felt helpless, defrauded, and

      desperate. She started crying. She felt anxious and confused. As a result, she suffered

      from lack of sleep and vertigo.

   64. As a direct and proximate cause of the Defendants’ conduct, Plaintiff Yanet Doe and her

      family have suffered emotional and economic harm, and irreparable harm to their dignity

      and autonomy.

   65. If Plaintiff Yanet Doe and her family had known that Defendant Doe #1 and the

      Defendants had not arranged for—or even attempted to arrange for—housing,

      employment, and immigration support services, or any other services, to be available to

      them upon arrival in Massachusetts, they would not have accepted Defendant’s offer and

      would not have boarded the plane to Massachusetts.

   66. If Plaintiff Yanet Doe and her family had known that they would be deposited in

      Martha’s Vineyard, or that the Defendants would use them as a political ploy in order to

      send a message about their political views on immigration, and force photographs of

      Plaintiff Yanet Doe and her family into the national media, Plaintiff Yanet Doe and her

      family would not have accepted Defendant Doe #1’s offer and would not have boarded

      the plane to Massachusetts.

Pablo Doe

   67. Plaintiff Pablo Doe was born in Venezuela.

   68. Plaintiff Pablo Doe fled Venezuela alongside his two brothers. They traveled through

      various countries before reaching the U.S. border near Piedras Negras, Mexico, where

      they immediately surrendered to federal border officials.
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69. Plaintiff Pablo Doe and his brothers were held in federal custody for approximately 15

   days.

70. After federal officials made the determination that they should be released, Plaintiff

   Pablo Doe and his brothers remained in a shelter in San Antonio, Texas, for

   approximately 3 days.

71. Upon leaving the shelter, Plaintiff Pablo Doe and his brothers encountered Doe

   Defendants #1 and #2 parked outside the shelter. Doe Defendants indicated they worked

   for an “anonymous” person who helped immigrants reach sanctuary states.

72. Doe Defendants reassured Plaintiff Pablo Doe that people were aware of their arrival and

   would be waiting for them.

73. Doe Defendants made numerous promises to Plaintiff Pablo Doe and his brothers in order

   to induce them to travel, including promises for: monetary assistance; housing;

   immediate employment; food assistance; clothing; free English classes; and legal

   assistance with their continuing immigration proceedings.

74. Based on these promises, Plaintiff Pablo Doe, along with his brothers, agreed to travel.

   Doe Defendants then transported Plaintiff Pablo Doe and his brothers to a hotel, where

   they stayed for approximately 3 days. During this time, they communicated with

   Defendant Doe #1 using the phone number she gave them.

75. Doe Defendants made all travel arrangements, including a shuttle to the airport.

76. Upon arrival in Martha’s Vineyard, no one was waiting for Plaintiff Pablo Doe and his

   brothers, and they had nowhere to go.
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   77. Plaintiff Pablo Doe attempted to reach Defendant Doe #1, but his efforts were to no avail;

      she no longer responded to calls or messages to the number she had given them in Texas.

   78. Upon arrival in Martha’s Vineyard, Plaintiff Pablo Doe felt helpless, defrauded, and

      desperate. He felt anxious and confused. As a result of the scheme, he suffers from lack

      of sleep.

   79. As a direct and proximate cause of the Defendants’ conduct, Plaintiff Pablo Doe and his

      brothers have suffered emotional and economic harm, and irreparable harm to their

      dignity and autonomy.

   80. If Plaintiff Pablo Doe and his brothers had known that Defendant Doe and the Defendants

      had not arranged for, or even attempted to arrange for, housing, employment, and

      immigration support services, or any other services, to be available to them upon arrival

      in Massachusetts, they would not have accepted Defendant Doe’s offer and would not

      have boarded the plane to Massachusetts.

   81. If Plaintiff Pablo Doe and his brothers had known that they would be deposited in

      Martha’s Vineyard, or that the Defendants would use them as a political ploy in order to

      send a message about their political views on immigration, and force photographs of

      Plaintiff Pablo Doe and his brothers into the national media, Plaintiff Pablo Doe and his

      brothers would not have accepted Defendant Doe’s offer and would not have boarded the

      plane to Massachusetts.

Jesus Doe

   82. Plaintiff Jesus Doe was born in Venezuela.

   83. Plaintiff Jesus Doe fled Venezuela. He reached the U.S. border near Piedras Negras,

      Mexico, and immediately surrendered to federal border officials.
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84. Plaintiff Jesus Doe was held in federal custody for approximately a day and a half, when

   federal immigration officials made the determination that he should be released.

85. Plaintiff Jesus Doe received a federal notice scheduling him for a supervised immigration

   visit in Virginia in October 2022.

86. In San Antonio, Plaintiff Jesus Doe stayed in a shelter—San Pedro 7000—known to

   house recent immigrants in the beginning of their federal immigration proceedings. After

   approximately three nights, he left the shelter and slept on the street nearby.

87. While there, he was approached by “Perla” (Defendant Doe #1), who said she could help

   him. She asked that he share his federal immigration notices with her, so he did. She told

   him she had helped many Venezuelans before and wanted to help him.

88. Defendant Doe #1 told Plaintiff Jesus Doe that she could get him on a plane to

   Washington, D.C. or Boston and could provide a hotel in which he could stay.

89. On September 14, 2022, at 7 a.m., Defendant Doe #1 gathered several dozen people,

   including Plaintiff Jesus Doe, to sign a document in order to receive a $10 McDonald’s

   gift card. She did not explain what the document stated, and it was not completely

   translated to Spanish: an entire paragraph about liability and transport was not translated

   at all, and language specifying that the journey would take place from Texas to

   Massachusetts was not translated at all either.

90. Plaintiff Jesus Doe was directed to write his name, date of birth and signature on the

   document before he would receive the gift card. Plaintiff Jesus Doe was not given time to

   read or review the document. He received no explanation of what he was signing.
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91. Plaintiff Jesus Doe was told by the Doe Defendants when they first met that by leaving

   Texas, he would be provided with permanent housing, stable employment, and help with

   his immigration process.

92. Upon arrival in Martha’s Vineyard, MA, he realized these promises were fraudulent. He

   and the other Plaintiffs did not have anywhere to go. No one on the island was expecting

   them. They were simply abandoned there.

93. When he realized the situation was not what he was told it would be, Plaintiff Jesus Doe

   worriedly sent a voice message to the phone number Defendant Doe #1 had given him,

   asking, “One question, what institution are we supposed to look for? We arrived and no

   one is saying anything.” Defendant Doe #1 never responded, and he has not heard from

   her again.

94. If Plaintiff Jesus Doe had known that Defendant Doe #1 had not arranged for, or even

   attempted to arrange for, housing, employment, and immigration support services, or any

   other services, to be available to him upon arrival in Massachusetts, he would not have

   accepted Defendant Doe #1’s offer and would not have boarded the plane to

   Massachusetts.

95. If Plaintiff Jesus Doe had known that he would be deposited in Martha’s Vineyard, or

   that the Defendants would use him as a political ploy in order to send a message about

   their political views on immigration, and force photographs of Plaintiff Jesus Doe into the

   national media, Plaintiff Jesus Doe would not have accepted Defendant Doe #1’s offer

   and would not have boarded the plane to Massachusetts.
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   96. As a direct and proximate cause of the Defendants’ conduct, Plaintiff Jesus Doe has

      suffered emotional and economic harm, and irreparable harm to his dignity and

      autonomy.

   97. Upon arrival in Martha’s Vineyard, Plaintiff Jesus Doe felt felt helpless, defrauded, and

      desperate. He felt anxious and confused. As a result, he suffered from lack of sleep and

      vertigo

   98. Plaintiff Jesus Doe feels defrauded and tricked. The experience of being transported to

      Martha’s Vineyard under false pretenses was traumatizing to him. Plaintiff Jesus Doe is

      concerned that this experience will also negatively impact his son in Venezuela.

The Class of Affected Immigrants

   99. The individual Plaintiffs bring this lawsuit as a class action pursuant to Federal Rule of

      Civil Procedure 23 on behalf of a class consisting of all immigrants who have been, or

      will in the future be, induced by Defendants to travel across state lines by fraud and

      misrepresentation.

   100.         Plaintiffs reserve the right to amend the definition of the above-defined classes

      based on discovery or legal developments.

   101.         The Class meets all the prerequisites of Rule 23 of the Federal Rules of Civil

      Procedure.

   102.         At least fifty (50) individuals have been transported pursuant to Defendants’

      relocation scheme to date, and Defendants have stated that they plan to continue

      operating the program until all of the $12 million allocation for the scheme is expended,

      making joinder of all members impracticable.

   103.         The Plaintiffs’ claims are typical of the claims of putative class members.
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104.        Common issues, including whether Defendants fraudulently induced Plaintiffs to

   board a plane and cross state lines through misrepresentations and false promises,

   whether Defendants intentionally failed to arrange for the promised services at the

   destination, and whether such conduct subjects them to liability, predominate over any

   individualized issues.

105.        Plaintiffs and their counsel, who have been class counsel in numerous other civil

   rights cases, will adequately represent the putative class. A class action is the superior

   method of trying these claims. Joinder of the individual class members of the sub-class is

   impracticable because there are over 25 members, nearly all of whom require translation

   services to participate in litigation, and many of whom may relocate during the course of

   this litigation.

       The Organizational Plaintiff’s Experience—Alianza Americas Has Had to Bear the
         Burden of Addressing and Protecting Immigrants Against Defendants’ Illegal
                                            Conduct

106.        Alianza Americas and its 53 member organizations are incurring concrete and

   ongoing injuries as a direct result of Defendants’ conduct. Because of Defendants’

   conduct, Alianza Americas and its member organizations have been, and will continue to

   be, required to shift their focus from their regular operations to such activities as holding

   community programming to educate immigrant-serving communities against Defendants’

   conduct: that offers of assistance made to newly-arrived immigrants may be ruses by

   State government officials who are attempting to make a political point and the need to

   respond to identify the needs that arise from this scheme, including legal assistance,

   mental health crises, transportation, housing, food, and clothing. Alianza Americas and

   its members are also helping to train state and local officials – including the National
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   Guard – on the legal, social and cultural background of the newly-arrived immigrants.

   Members of Alianza Americas include Central American Resource Center DC

   (CARECEN DC); Centro Romero; Chicago Religious Leadership Network on Latin

   America (CRLN); and Pueblos Transnacionales.

107.       In addition, when the challenged conduct occurs and immigrants are transported

   to a distant community purposefully without advance notice and for political purposes,

   Alianza Americas’ member organizations are forced to mobilize staff and coordinate

   efforts and strategy on an emergency basis. The fallout from Defendants’ illegal actions

   strains the organizations’ already limited resources. Such emergency efforts—which

   Alianza Americas must continue if the Defendants are allowed to continue their

   conduct—have diverted from the member organizations’ scarce time, resources and main

   programming.

108.       Plaintiff Alianza Americas’ mission is to create an inclusive, equitable, and

   sustainable way of life for migrant communities living in the United States and across the

   Americas. It pursues that mission by, among other things, providing education to

   immigrants, immigrant-serving organizations, and the general public; and fundraising for

   institutions that provide shelter and other services to immigrants and asylum seekers.

109.       Defendants’ conduct as alleged herein directly undermines Alianza Americas’

   mission by taking advantage of vulnerable immigrants, inducing them to travel under

   false pretenses, abandoning them without resources, targeting them for disparate

   treatment based on their race, national origin, and alienage, and using them as political

   props. All these activities harm the immigrant communities Alianza Americas exists to

   serve and undermine its mission to foster equity and inclusivity.
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   110.        In addition, Plaintiff Alianza Americas has had to take several steps to counteract

      the negative effects of Defendants’ conduct on its mission. These include: (1) mobilizing

      staff to educate member organizations and government officials about Defendants’

      actions; (2) diverting resources to coordinate emergency assistance for affected

      individuals and create a response plan for future transportations; and (3) spending money

      to develop materials and trainings to inform immigrants and community advocates about

      Defendants’ conduct and how to avoid being injured by it.

   111.       Furthermore, Alianza Americas provides direct immigration counseling services

      to recent immigrants through its member organizations, including organizations across

      the country from California to Washington, D.C. Those member organizations have also

      had to expend significant time and resources developing advice and legal strategies to

      protect their vulnerable immigrant clients from Defendants’ conduct.

   112.       To the extent the relocation scheme is allowed to continue, Plaintiff, and many of

      its members, will have to keep diverting resources and adjusting operations to educate the

      public and protect those affected in furtherance of their missions.

                                    CAUSES OF ACTION

                                  First Cause of Action
(Violation of Fourth and Fourteenth Amendments: Illegal Seizure/False Arrest Pursuant to
                                    42 U.S.C. § 1983)
                                (Against All Defendants)

   113.       The Plaintiffs reallege and incorporate each and every allegation contained in the

      preceding paragraphs.

   114.       At all relevant times, Defendants acted “under color of state law” within the

      meaning of 42 U.S.C. § 1983.
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 115.       The Fourth Amendment protects individuals from “unreasonable … seizures.”

    U.S. Const., amend. IV.

 116.       By fraudulently inducing individual Plaintiffs to cross state lines in the manner

    described herein, Defendants unreasonably seized Plaintiffs without just cause.

 117.       Particularly after the individual Plaintiffs had boarded the airplanes and were in

    mid-air, Plaintiffs were not free to leave, and were induced into that condition through

    false promises and misrepresentations. This constitutes a governmental termination of

    Plaintiffs’ freedom of movement through means intentionally applied.

 118.       As a direct result of Defendants’ conduct, Plaintiffs have suffered harm as

    described above.

                              Second Cause of Action
(Violation of Fourteenth Amendment: Substantive Due Process Pursuant to 42 U.S.C. §
                                      1983)
                             (Against All Defendants)

 119.       The Plaintiffs reallege and incorporate each and every allegation contained in the

    preceding paragraphs.

 120.       The Fourteenth Amendment to the U.S. Constitution prohibits states from

    depriving “any person of life, liberty, or property, without due process of law.”

 121.       By fraudulently inducing individual Plaintiffs to board an airplane and cross state

    lines in the manner described herein, Defendants engaged in an egregious abuse of power

    that deprived individual Plaintiffs of their liberty in a manner that shocks the conscience.

 122.        Defendants robbed individual Plaintiffs’ liberty in the most basic sense: denying

    them the freedom of movement without just cause.

 123.       Defendants also took their actions in bad faith and with wanton indifference for

    the individual Plaintiffs’ well-being. Despite Plaintiffs’ obvious vulnerabilities,
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   Defendants misled Plaintiffs, transported them to an unfamiliar place thousands of miles

   away from their ongoing immigration proceedings, and left them to fend for themselves

   without promised resources. Although Defendants held themselves out as wanting to help

   individual Plaintiffs, in fact they sought to use them as props in a political stunt. Plaintiffs

   had no knowledge of this ulterior motive on the part of Defendants and did not consent to

   be used in this way.

124.         Defendants’ actions not only offend all notions of fairness, but they also stripped

   Plaintiffs of their basic human dignity, in violation of due process.

125.         As a direct result of Defendants’ conduct, Plaintiffs have suffered harm as

   described above.



                              Third Cause of Action
(Violation of Fourteenth Amendment: Equal Protection pursuant to 42 U.S.C. § 1983)
                             (Against All Defendants)

126.         The Plaintiffs reallege and incorporate each and every allegation contained in the

   preceding paragraphs.

127.         The Fourteenth Amendment to the U.S. Constitution provides that “No State shall

   . . . deny to any person within its jurisdiction the equal protection of the laws.”

128.         Defendants’ conduct of inducing immigrants to travel across state lines by fraud

   and misrepresentation discriminates against individuals on the basis of race and national

   origin.

129.         This conduct intentionally and invidiously targets individuals who are racial and

   national origin minorities because of their race and/or national origin.
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130.       This conduct impermissibly deprives individuals who are targeted because of their

   race and national origin of the equal protection of the laws within the meaning of the

   Fourteenth Amendment to the U.S. Constitution.

131.       This conduct impermissibly discriminates against non-citizen Plaintiffs on the

   basis of alienage and deprives them of the equal protection of the laws within the

   meaning of the Fourteenth Amendment to the U.S. Constitution.

132.       At all relevant times, Defendants acted “under color of state law” within the

   meaning of 42 U.S.C. § 1983.

133.       Defendants caused the harms alleged herein to the Plaintiffs on account of their

   national origin. On information and belief, Defendants have not transported any white

   individuals or individuals born in the United States through their relocation scheme, but

   rather have intentionally targeted only individuals who are non-white and born outside

   the United States.

134.       As a direct and proximate cause of such acts, Defendants have violated 42 U.S.C.

   § 1983 and caused harm to Plaintiffs by violating the Plaintiffs’ Fourteenth Amendment

   right to equal protection under the laws and will continue to violate the rights of other

   similarly-situated individuals in the future.

                            Fourth Cause of Action
                        (Violation of 42 U.S.C. § 2000d)
  (Against Defendants DeSantis, Perdue, State of Florida, Florida Department of
                                Transportation)

135.       The Plaintiffs reallege and incorporate each and every allegation contained in the

   preceding paragraphs.
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136.         42 U.S.C. § 2000d provides that “No person in the United States shall, on the

   ground of race, color, or national origin, be . . . subjected to discrimination under any

   program or activity receiving Federal financial assistance.”

137.         Defendants receive Federal financial assistance, including but not limited to

   through the Coronavirus State Fiscal Recovery Fund.

138.         Defendants’ conduct of inducing immigrants to travel across state lines by fraud

   and misrepresentation discriminates against individuals on the basis of race and national

   origin.

139.         This conduct intentionally and invidiously targets individuals who are racial and

   national origin minorities because of their race and/or national origin.

140.         This conduct impermissibly deprives individuals who are targeted because of their

   race and national origin in a manner that violates federal law.

141.         As a direct and proximate cause of such acts, Defendants have violated 42 U.S.C.

   § 2000d and caused harm to Plaintiffs, and will continue to violate the rights of other

   similarly-situated individuals in the future.

                                   Fifth Cause of Action
                    Violation of Supremacy Clause; 42 U.S.C. § 1983
                                 (Against All Defendants)

142.         The Plaintiffs reallege and incorporate each and every allegation contained in the

   preceding paragraphs.

143.         The Supremacy Clause, Article VI, Section 2, of the U.S. Constitution states:

             This Constitution, and the Laws of the United States which shall be made in
             Pursuance thereof; and all Treaties made, or which shall be made, under the
             Authority of the United States, shall be the supreme Law of the Land; and the
             Judges in every State shall be bound thereby, any Thing in the Constitution of
             Laws of any State to the Contrary notwithstanding.
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144.       The Supremacy Clause mandates that federal law preempts state law and policy in

   any area which is constitutionally reserved to the federal government, over which

   Congress expressly or impliedly has reserved exclusive authority, and/or where state law

   or policy conflicts or interferes with federal law.

145.       The Constitution grants the federal government sole and exclusive power to

   regulate immigration. U.S. Const., art. I, § 8, cls. 3-4.

146.       As part of its immigration power, the federal government has exclusive authority

   to enact and to enforce regulations concerning which immigrants to admit, exclude,

   remove, or allow to remain in the United States. The federal government also has

   exclusive authority over the terms and conditions of an immigrant’s stay in the United

   States. State governments do not have these powers.

147.       Pursuant to its powers, the federal government has established a comprehensive

   system of laws, regulations, procedures, and administrative agencies that determine

   whether and under what conditions an immigrant may enter and live in the United States.

148.       Defendants’ conduct of paying for, coordinating, and executing the travel of

   immigrants, who are under the active management of federal immigration authorities, to

   various locations across the country through false representations and for the purpose of

   making a political point about federal immigration policy, directly conflicts with, and

   attempts to supplant, federal immigration law.

149.       Defendants’ conduct conflicts with federal laws and policies, usurps powers

   constitutionally vested exclusively in the federal government, attempts to legislate and

   regulate in a field occupied exclusively by the federal government, and imposes burdens
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   on the federal government’s resources and processes, each in violation of the Supremacy

   Clause.

                                   Sixth Cause of Action
        (Violation of Fourteenth Amendment: Procedural Due Process Pursuant to 42
                                       U.S.C. § 1983)
                                  (Against All Defendants)

150.         The Plaintiffs reallege and incorporate each and every allegation contained in the

   preceding paragraphs.

151.         The Due Process Clause of the Fourteenth Amendment to the U.S. Constitution

   provides that states shall not “deprive any person of life, liberty, or property, without due

   process of law.”

152.         Plaintiffs have a protected liberty and/or property interest in being able to proceed

   through the federal immigration process unimpeded and without state interference.

153.         Defendants’ scheme, which transported Plaintiffs thousands of miles away from

   the loci of their federal immigration proceedings under false pretenses—including false

   promises to assist them with immigration issues—deprived them of that right.

154.         Defendants provided Plaintiffs with no hearing or proceeding of any kind before

   this deprivation and, therefore, violated Plaintiffs’ procedural due process rights.

                                 Seventh Cause of Action
                (Violation of 42 U.S.C. 1985(3): Civil Rights Conspiracy)
                               (Against All Individual Defendants)

155.         The Plaintiffs reallege and incorporate each and every allegation contained in the

   preceding paragraphs.

156.         Through the actions described herein, Defendants engaged in a conspiracy to

   deprive Plaintiffs of their civil rights.
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157.        Defendants—each Defendant and Defendants collectively—acted in concert to

   deprive Plaintiffs of their rights as described above. Defendants agreed in and amongst

   themselves to inflict this injury on the Plaintiffs.

158.        As described herein, the effort undertaken by Defendants was orchestrated and

   engineered by Defendant DeSantis, and the additional individual Defendants each acted

   in concert with each other to carry out the conduct.

                               Eighth Cause of Action
       American Rescue Plan Act of 2021/Coronavirus State Fiscal Recovery Fund
                              (Against All Defendants)


159.        The Plaintiffs reallege and incorporate each and every allegation contained in the

   preceding paragraphs.

160.        The American Rescue Plan Act of 2021 (ARPA) created the Coronavirus State

   Fiscal Recovery Fund to respond to the COVID-19 pandemic and its economic effects.

161.        Such funds may only be used for specified purposes related to the COVID-19

   pandemic emergency and related economic effects.

162.        The $12 million that the Defendant State of Florida appropriated for the

   Defendants’ challenged conduct originated from the federal Coronavirus State Fiscal

   Recovery Fund and was therefore subject to its use restrictions.

163.        The conduct alleged herein by Defendants is not among the authorized uses of

   such funds.

164.        Defendant DeSantis has stated that he plans to continue to use such funds for

   these unauthorized purposes.
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                                 Ninth Cause of Action
                                  False Imprisonment
                                (Against All Defendants)

165.       The Plaintiffs reallege and incorporate each and every allegation contained in the

   preceding paragraphs.

166.       The Defendants intentionally conspired to confine the individual Plaintiffs to the

   aircraft that transported them to Martha’s Vineyard.

167.       The individual Plaintiffs were harmed as a result of the Defendants’ intentional

   and unjustified confinement of them. The Plaintiffs’ participation in the federal

   immigration processes—to which they are constitutionally entitled—was impeded, as

   they were transported thousands of miles away from where they needed to continue

   immigration proceedings. Plaintiffs were not informed that they would be flown to an

   island off the coast of Massachusetts that can only be reached by plane or ferry. The first

   time that many of the putative class learned that their destination was Martha’s Vineyard

   was when they were in mid-air. When they arrived, they were not provided with any of

   the goods and services which they were promised by Defendants. They felt defrauded and

   tricked and were traumatized by the experience.

                                  Tenth Cause of Action
                                       Fraud/Deceit
                                 (Against All Defendants)
168.       The Plaintiffs reallege and incorporate each and every allegation contained in the

   preceding paragraphs.

169.       The Doe Defendants, in conspiracy with all Defendants, made false

   representations to the individual Plaintiffs to induce them to travel, including statements

   that Plaintiffs would be provided with employment and housing opportunities, and, in the

   case of Plaintiffs with children, schooling.
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170.       Defendants did not provide such benefits to Plaintiffs—indeed, Defendants had

   no intention of providing such benefits. The individual Doe Defendants who had directly

   induced Plaintiffs to travel and had given Plaintiffs contact information to call them

   became unreachable the moment the Plaintiffs were deposited on Martha’s Vineyard.

171.       Plaintiffs were not informed that they would be flown to an island off the coast of

   Massachusetts that can only be reached by plane or boat. The first time that many of the

   putative class learned that their destination was Martha’s Vineyard was when they were

   in mid-air.

172.       Defendants concealed from Plaintiffs their true purpose of facilitating travel,

   which was to make a political point about federal immigration policy.

173.       The Plaintiffs reasonably relied on the Defendants’ promises to their detriment.

   As recent immigrants from countries facing humanitarian crises, they needed stable

   housing, work, and basic human services. They trusted the Defendants’ promises to

   provide these things, and as a result found themselves thousands of miles from where

   they needed to participate in federal immigration proceedings without the Defendants

   providing any of the promised goods or services.

                               Eleventh Cause of Action
                      Intentional Infliction of Emotional Distress
                               (Against All Defendants)

174.       The Plaintiffs reallege and incorporate each and every allegation contained in the

   preceding paragraphs.

175.       The Doe Defendants, individually and in concert, intentionally inflicted emotional

   distress on the individual Plaintiffs through their actions as described throughout this

   complaint.
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176.       The Defendants intended to induce the individual Plaintiffs to board a plane to

   Martha’s Vineyard under false pretenses. Upon arrival, the Plaintiffs learned that no one

   in Massachusetts or Martha’s Vineyard was expecting them. The Defendants were

   unreachable.

177.       It was only after they were already in Martha’s Vineyard that they learned that the

   individual Doe Defendants, who had held themselves out as simply wanting to help, were

   in fact acting in concert with Defendants DeSantis and Perdue, who claimed

   responsibility for the relocation under the auspices of a “relocation program” of

   Defendant State of Florida. It was only after they were already in Martha’s Vineyard that

   Plaintiffs learned of Defendants’ true motive, which was to use them to make a political

   point about immigration.

178.       The Defendants’ actions were extreme and outrageous, and utterly intolerable in a

   civilized community.

179.       The Defendants’ actions caused severe emotional distress to the Plaintiffs. The

   Plaintiffs had relied on the Defendants’ promises of support and social services—basic

   human needs of which, as recent immigrants, they were in particularly desperate need.

   When they became aware that they were transported thousands of miles away from

   Texas, where they need to continue with their federal immigration proceedings, without

   any of the support from the Defendants, they became emotionally traumatized.

                              Twelfth Cause of Action
                      Negligent Infliction of Emotional Distress
                              (Against All Defendants)

180.       The Plaintiffs reallege and incorporate each and every allegation contained in the

   preceding paragraphs.
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   181.       Defendants negligently inflicted emotional distress on the individual Plaintiffs

       through their actions described throughout this complaint. This negligent infliction of

       emotional distress caused the Plaintiffs dignitary harms and physical manifestations of

       harm requiring mental health counseling and support.



WHEREFORE, the Plaintiffs respectfully request that this court:

   a. Certify this action as a class action pursuant to F.R.C.P. 23;

   b. Designate Plaintiffs Yanet Doe, Pablo Doe and Jesus Doe as Class Representatives;

   c. Designate Plaintiffs’ Counsel as Class Counsel;

   d. Declare that Defendants’ conduct in inducing the individual Plaintiffs to travel across

       state lines by fraud and misrepresentation violates the U.S. Constitution and federal and

       states cited above;

   e. Enjoin Defendants from inducing immigrants to travel across state lines by fraud and

       misrepresentation;

   f. Award compensatory, emotional distress, and punitive damages to the individual

       Plaintiffs and the class in an amount to be determined at trial;

   g. Award Plaintiffs’ their attorneys’ fees and costs; and

   h. Order such additional relief as the Court deems just and proper.
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                                           JURY DEMAND

Plaintiffs request a trial by jury on all claims so triable.



                                                         /s/ Oren Sellstrom
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